Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 1 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 2 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 3 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 4 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 5 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 6 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 7 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 8 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 9 of 35




                            Exhibit A
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 10 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 11 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 12 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 13 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 14 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 15 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 16 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 17 of 35




                             Exhibit B
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 18 of 35




     Begin forwarded message:

       From: Neil Luckianow <Neil_Luckianow@facettechnologies.com>
       Date: August 21, 2014 at 9:13:02 AM EDT
       To: Jatin Rajani <jatinrajani@yahoo.com>
       Cc: "gparker@conveyhs.com" <gparker@conveyhs.com>, David Conn <David_Conn@facettechnologies.com>, Mike Cutter
       <Michael_Cutter@facettechnologies.com>, Michael Piro <Michael_Piro@facettechnologies.com>, Stephanie Wagner
       <Stephanie_Wagner@facettechnologies.com>, In Hanjin <hanjinin@gmail.com>, "asavard@conveyhs.com"
       <asavard@conveyhs.com>
       Subject: RE: Facet Pen Needle Update

       Glen and Ja)n,

       We had an excellent AADE. When would you like to re-schedule our update? Can you provide
       some dates and )mes and I will do my best to accommodate. Thank you.

       Regards,

       Neil

       Neil C. Luckianow, VP/GM Insulin Delivery
       Facet Technologies
       112 Town Park Drive, Suite 300 Kennesaw, GA 30144
       Oﬃce 770.590.6489 Fax 770.590.6412 Cell 203.815.8108
       Neil_luckianow@face_echnologies.com
       www.CareFineDiabetes.com

       From: Ja)n Rajani [mailto:ja)nrajani@yahoo.com]
       Sent: Thursday, August 21, 2014 8:50 AM
       To: Neil Luckianow
       Cc: gparker@conveyhs.com; David Conn; Mike Cu_er; Michael Piro; Stephanie Wagner; In
       Hanjin; asavard@conveyhs.com
       Subject: Re: Facet Pen Needle Update



       Sent from my iPhone

       On Aug 1, 2014, at 3:14 PM, Neil Luckianow <Neil_Luckianow@facettechnologies.com>
       wrote:
               Team,

               I trust the mee-ng in Orlando during AADE s-ll works for everyone’s schedule. We will meet at
               our Hotel (below) with the speciﬁc loca-on to be determined. Our plan is to cover the
               following:
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 19 of 35


           following:

           Facet: Update on Pen Needle launch
                   3 Bevel -ming
                   5 Bevel status
               Commercial -meline
               AADE response to date

           MediBio:
              Managed markets contacts/assistance

           Please let me know if there are any addi-onal items you would like to discuss. Thank you in
           advance for your par-cipa-on.

               HyaR Regency Orlando
               9801 Interna-onal Drive
               Orlando, FL 32819
               1-407-284-1234

           Regards,
           Neil




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           <disclaimer.txt>
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 20 of 35




                             Exhibit C
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                                                                            FLSD Docket 08/21/2017 Page 21 of 35


                                                                                   Topics & Tools   !   Newsletter   Search




           Product News from the (Shrinking) 2014 AADE
           Expo
           Written by Wil Dubois | Published on August 12, 2014
                                                                                ! " # $


                                                  As you may know, our correspondent Wil Dubois
                                                  was on the ground in Orlando, FL, covering the big
                                                  annual American Association of Diabetes Educators
                                                  (AADE) meeting for us last week.

           Check out his ﬁrst Newsﬂash on Asante and Insulet stuﬀ from last Friday.
           And now, we bring you his full report of product news from the trade show
           ﬂoor...




           It must have been the heat and humidity. After all, AADE chose to host their
           annual gathering in Orlando, FL. In August. What else could cause a diabetes
           trade show to shrink? With an exhibitor count just below 200, the number of
           ﬁrms showing this year was a full one-third smaller than last year, and the
           exhibit hall shrinkage didn't stop there. Many of the major players opted for
           smaller booths and staﬀed them with smaller crews.

           Not only was the trade
           show smaller than in
           previous years, but it got
           smaller during the three
           short days it ran, with
           more than a dozen
           vendors pulling up stakes
           early and abandoning
           their booths completely
           after the second day,
           complaining that they did
           not feel the schedule
           provided attending educators (roughly 2,500) with enough unopposed time
           to visit the expo.

           As usual, the vendors were a mix of large and small device and accessory
           ﬁrms, pharmaceutical companies, and food makers, with a few oddball
           companies rounding out the roster. Clearly there was still no attempt by the
           AADE to vet the vendors; as snake oil salesmen were placed right next door
           to major pharmaceutical companies.




1 of 9                                                                                                                        8/21/17, 8:50 PM
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                                                                            FLSD Docket 08/21/2017 Page 22 of 35


                                                                      Topics & Tools   !   Newsletter




           Biggest Buzz

           Talk about guerrilla marketing: the biggest buzz on the trade show ﬂoor this
           year was from a company that had no apparent presence at all (no booth!):
           Asante Solutions, maker of the Snap insulin pump. Asante assaulted
           attendees with a Blitzkrieg of entertainment and exciting news about its
           integration partnerships on open data, and on the trade show ﬂoor they
           were handing out an amazing brochure that featured a full-color touch-
           screen video player, along with bags, water bottles, leather-clad journal
           books, and a home-improvement-style color swatch book to help PWDs
           design their own custom pumps.

           Yes, that swatch book was tied in with Asante's big product news: the oﬃcial
           public launch of MySnap, which we told you about on Friday, that's billed to
           be "the world's ﬁrst and only customizable insulin pump" by allowing
           customers to choose face plates, frames, and accents online, to create a
           "personalized design" for your pump in more than 250 combinations. Oh,
           and Asante was the only pump company talking openly about its next-gen
           product, likely motivated by their big data integration news -- Asante will
           work with Dexcom so that CGM data can be displayed on the next-gen Snap
           pump.




           All of this without a booth? Wow!

           Well, yes and no. Asante had no booth with their name on it, instead
           choosing to gain access to the trade show by renting one of those small, low-
           cost stealth booths used for brieﬁng meetings, which they labeled
           InsulinPump.com -- which turned out to be tied to an Asante-built and
           supported third-party-looking website that compares insulin pumps and
           promotes some insulin pump education (including some DOC voices).

           This move had some competitors crying foul, but left others grudgingly
           admiring their moxie. Aside from that whole trade show drama, we did take



2 of 9                                                                                                                  8/21/17, 8:50 PM
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                                                                            FLSD Docket 08/21/2017 Page 23 of 35


                                                                         Topics & Tools   !    Newsletter
           or Combo mentioned. Hmmm, interesting.

           Meanwhile, the longest lines by far this year were at the HealthSlate booth,
           where the company once again gave away between 1,400 and 1,600 AADE
           software-loaded Android touch screen tablet computers to attendees. They
           also did this last year, obviously with much success. CEO Kevin Nakao walked
           me through the upgrades from last year's tool, which in his words is an
           "edutainment and gamiﬁcation" platform designed for diabetes education. It
           features a host of videos and animations (in both Spanish and English), as
           well as a zipcode-driven drug price-look-up feature. The tablet also contains
           product-speciﬁc training videos, an insurance coverage data base, and
           educational games for educators to use with PWDs (people with diabetes). I
           especially enjoyed playing with diabetes Jeopardy game: I'll take Glucose
           Monitoring for $400, Alex...




           Launched!

           Timesulin was there with its big launch news, having recently received FDA
           approval for their automatic pen-cap timer for disposable pens and closing a
           USA distribution agreement with a company called Facet Technologies...
           Who? Yeah, I never heard of them either, but apparently I've been using their
           products for my entire diabetic career, as they are the world's leading maker
           of lancing needles. Timesulin co-inventor
           John SjÃ¶lund, a fellow type 1, assures that
           everyone who backed the recent
           crowdfunding campaign for Timesulin will
           still be the ﬁrst to receive the caps, likely in
           mid-September. Facet will be selling caps for
           the Flex, Touch, Kwik, and Solostar pens for
           just under $30 each. Sadly, due to an airline mix-up, a box of 200 Timesulin
           caps didn't make it to the show so I can't report on what it's like to really use
           this poor man's insulin-on-board (IOB) calculator.

           Facet wasn't just there re: partnership with Timesulin. Yes, the two shared
           the same booth. But the lancing and needle company also announced its



3 of 9                                                                                                                  8/21/17, 8:50 PM
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                                                                            FLSD Docket 08/21/2017 Page 24 of 35


                                                                          Topics & Tools   !    Newsletter




           Rest of the... Same?

           Roche showed oﬀ their new Accu-Chek Aviva Expert meter, the ﬁrst blood
           glucose meter in the States with an "insulin pump brain" -- complete with
           insulin on board tracking and a bolus advisor -- for those of us who use pens
           or syringes. This meter got FDA approval in October 2013 and hit the market
           earlier this year. I gotta say, I'm pretty excited about this meter and spent
           quite a bit of time playing with it, but I'm not going discuss it further, as I've
           arranged for a ﬁeld test and review, so look for that next month right here at
           the 'Mine. Aside from that, Roche didn't mention anything about its new
           Accu-Chek Insight pump that's now available overseas, or any future tech for
           the U.S. aside from its current Accu-Chek Combo insulin pump system (yes,
           lest we forget: Roche Accu-Chek actually does still have an insulin pump on
           the market even if the marketing isn't up to par with the biggies).

           OmniPod-maker Insulet was present,
           pushing their "Cut the Cord" program to help
           tethered pump users who want to make the
           switch before the warranty on their current,
           tubed pump runs out. While they didn't have
           anything new to show oﬀ regarding next-gen
           Pods or the much-anticipated nexxt-gen
           Personal Diabetes Manager (PDM) that will
           integrate with future Dexcom G5 data,
           Insulet did have an awesome visual aid in the
           form of a clear current-gen Pod showing the machine's guts. I tried to score
           one and failed, then I tried to swipe one and failed again. Damn. It would be
           a really cool paperweight and conversation starter.

           Dexcom and Medtronic both had booths, but didn't have anything really new
           to show oﬀ. MedT did have a larger booth with various presentations, one of
           them oﬀering an intriguing data point: that their Threshold/Low Glucose
           Suspend pumps uploaded to CareLink have stopped a whopping 620,165
           hypos.

           The T2 patch pump company Valeritas was there talking about its V-Go
           pump, which is now hooked up to 12,000 active users and has racked up 2.5
           million patient days. Wow!

           BD also had a large booth showcasing their AutoShieldâ„¢ Duo Pen Needle.
           The needle isn't new, but the fact that you can go out and buy it as a
           consumer is. The AutoShield was originally designed as an "engineering
           safeguard" to reduce unwanted needle sticks in hospitals, a trick it achieves
           by pulling both ends of the needle back into the casing after an injection is
           given, sorta like a startled turtle. Why move a product like this into retail?

           Attiq Amjad, product manager for AutoShield, tells me it was because BD was




4 of 9                                                                                                                  8/21/17, 8:50 PM
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                                                                            FLSD Docket 08/21/2017 Page 25 of 35


                                                                       Topics & Tools   !    Newsletter
           serve as a temporary sharps container, still others because it reduces the risk
           of needles sticks common in recapping a used needle, and lastly — as it's
           larger in diameter and longer — many PWDs with dexterity problems ﬁnd it
           easier to attach than a traditional pen needle. Docs love it too, he says,
           because since it's a one-shot device, those lazy diabetics are forced to change
           the needle each time they use it. I'm betting the BD shareholders will love it
           for the same reason. I scored a half-dozen of these and found them a
           perfectly pleasant needle to use, but I confess I'm one of those non-
           complaint diabetics who uses a needle all day long and hates to carry extra
           supplies with me, so I'll stick with over-using their Nano needles.

           Tandem was there giving out those metal tins designed to look like their
           t:slim pump that debuted at the summer conferences a couple of years ago
           -- the ones containing six Glucolift tabs inside, in Orange Cream and Cherry
           ﬂavors. Lines formed and perpetually packed the booth largely to see real-
           life celeb, former Miss America 1999 and type 1 Dr. Nicole Johnson, who was
           signing copies of her new book, "Young Adult Type 1 Diabetes Realities."
           Nicole, who brought her hypo dog along with her, also had three scientiﬁc
           posters accepted in the Poster Presentations portion of the conference.
           Oddly, although Tandem recently announced they'd ﬁled their integrated
           t:slim/ Dexcom G4 with the FDA, there was no sign of that excitement at the
           booth except for maybe a little side conversation among sales reps making
           their pitches.

           Meanwhile, Animas had a huge barrel of stuﬀed animals they were giving
           away. The booth crew told me they
           weren't sure if the cuddly little critter
           was a fox or a coyote. Trust me on this,
           it's a fox. Not mangy enough to be a
           coyote, and the color is deﬁnitely that
           foxy red-orange. The connection to
           diabetes? On the fox's right hip is an
           infusion set test site for training. It was
           so cute that I grabbed one and then
           texted my wife that I picked up a real
           fox at the convention center and was taking her back to my hotel room with
           me. Not being a complete idiot, I also attached a picture of my new
           companion. :)

           Although refusing to talk to media at their booth, GSK is back in the diabetes
           space in a big way for the ﬁrst time since the Avandia debacle a few years
           ago. They had one of the larger booths in the hall, and were oﬃcially
           launching their new GLP-1 drug Tanzeum. While some critics are calling the
           this drug a "me-too" to compete with Byetta and Victoza, I'm not sure I agree.
           It's really engineered to take on Bydureon, the once-a-week version of Byetta,
           and I think GSK might do well on the basis of the delivery system alone;
           Bydureon is about as thick as maple syrup and uses a frighteningly large
           needle, while the new GSK product Tanzeum uses an EpiPen-style injector
           with a standard pen needle rather than a harpoon.

           The ladies at carry-case company Myabetic announced that next month their
           popular Banting Wallet will be available in purple and pink colors. When I told




5 of 9                                                                                                                  8/21/17, 8:50 PM
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                                                                            FLSD Docket 08/21/2017 Page 26 of 35


                                                                       Topics & Tools   !    Newsletter
           Additionally, most Myabetic products will now feature the popular "waste
           pouch" for used test strips -- a gift, I'm told, for our loved ones.




           Edible Diabetes Arrangements

           Level Foods also debuted its new ﬂavor of glucose gel: Green Apple! I scored
           one, but haven't had a low yet to try it out on. Inventor and T1 peep Ethan
           Lewis told me this was the ﬂavor that our community voted on and chose
           last year (Chocolate Cherry apparently lost). When I mentioned to Ethan how
           surprised I was by the durability of his fragile-looking pouches, he told me
           that during initial testing he ran them over with a Harley 883 Iron motorcycle
           to make sure they were tough enough. Now that's my kind of dedication to
           product testing!

           Livliga founder Shelia Dietrich doesn't have diabetes yet, and despite my
           telling her there was still time, she
           has no plans to join us. She's trying
           to duck her father's type 2, and has
           managed to lose 60 pounds using
           her innovative "visual illusion"
           plates, bowls, and glasses, which
           use graphic design to trick the eye
           into thinking the food on the plate
           is a larger portion than it is. Or
           putting it another way, making a
           proper portion not look small to people who once were super-sized.
           (Although her "proper portion" wine glass isn't fooling me.) There were
           several booths featuring portion-control plates of various types, but I liked
           Dietrich's best because they are actually attractive. She told me her original
           prototype, made for her own diet, was made at one of those U-Fire-It pottery
           studios. Since that time she's done more research and shifted her tableware
           into cooler colors that are said to suppress appetite. I had such a busy day I
           was running on empty and staring at the empty plate did nothing to take my
           hunger away, but she seems sincere, and I certainly would not be
           embarrassed to serve company on these plates.

           But my hunger got satiated at the nearby Beanitos booth, where I tried six
           types of chips and two Cheetos-like puﬀs — only thinking of you, Dear
           Readers — and can report that while they are all very yummy, the black-bean
           chipotle BBQ rocks the house... er... the convention hall. The Texas-based
           product line is gluten-fee, GMO-free, MSG-free, trans fat-free, preservative-
           free, cholesterol-free—but still full of ﬂavor. How did they do that?? Beanitos
           products are also Kosher and Vegan, but best of all (beyond the great taste)
           is that they are very blood sugar-friendly, at least for a chip-type product,
           with low glycemic index and high ﬁber giving them a net carb impact, on
           average, of about 10 grams per serving.

           Captain Jack Sparrow, or a convincing non-celebrity look-alike, was at the




6 of 9                                                                                                                  8/21/17, 8:50 PM
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                                                                            FLSD Docket 08/21/2017 Page 27 of 35


                                                                        Topics & Tools   !    Newsletter
           Pirates of the Caribbean (and the gold chocolate coins they were giving out
           by the handful) I was told it was an "Orlando thing." When I continued to look
           blank, they said, "You know, Universal Studios?" Ohhhh.... Capt'n Jack later
           lost his cell phone and complained to me that his magic compass was
           broken, as it wasn't pointing its way to his greatest desire — his ﬂippin' lost
           cell phone. Actually, he might have used harsher language, as beﬁts a pirate
           captain. Many educators lined up and took selﬁes with the would-be celeb, of
           course. Other foodie booths seen at AADE: Dr. Pepper and Snapple; ConAgra,
           makers of Lean Cuisine, the Nestle Crunch bar and Strawberry Quick;
           General Mills, giving out boxes of Cheerios and Yoplait yogurt; the Peanut
           Institute, featured alongside FitBit; and — wait for it -- the Sugar Association
           (!)




           Diabetes and Your Body

           It was great to see LifeTag, a "not new, but often
           overlooked" little biz that makes little stick-on
           medical alert plaques that can be put on
           anything from driver's licenses to the face of a
           smart phone. (Don't freak out, they are small
           and well-made.) This year, they also had an alert
           plaque that can be worn on tennis shoe laces
           for kiddos, and medical alert zipper pulls.

           A company called HiDow was featuring a mini
           TENS unit (Transcutaneous Electrical Nerve
           Stimulation that usese electrical currents to
           relieve pain) that is very small, very thin, very
           light, and fully rechargeable with a duration said to be in the 60-70 hour
           range. It features various pre-programed modes, some lovely, and some that
           felt like I was having some sort of muscle spasm or a seizure. Fans of TENS
           units will recognize this as a good thing, because it shows this guy may be
           little, but it packs a punch! They also had a TENS sandal accessory, and I
           wondered if this might provide some relief for people who suﬀer from the
           painful foot variety of neuropathy.




           Cool, Notable, and Odd

           In good news for those with crappy or no health insurance, all CVS stores in
           the nation will soon be carrying the AgaMatrix-manufactured "CVS Advanced
           Meter" (no creative points there, with this basically being a store-branded
           version of the Jazz) with test strips under $12 for a 50-count vial.
           Unfortunately, this meter won't work with the current Jazz strips as they did
           with the iBGStar meter).




7 of 9                                                                                                                  8/21/17, 8:50 PM
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                                                                            FLSD Docket 08/21/2017 Page 28 of 35


                                                                                                  Topics & Tools   !   Newsletter
           that the app that runs it keeps track of the number of tests you've done and
           reminds you to reorder your strips when you begin to run low.

           Lastly, two ladies in a small booth were there giving out miniature white New
           Testament bibles. They were from Gideon International, the folks famous for
           placing bibles in virtually every hotel room in the country. According to the
           Gideon's website, they've placed 1.9 billion volumes worldwide, but I'm sorry
           to say that at AADE their pile never seemed to get much smaller. Still I always
           admire tireless advocates, no matter what their cause.

           Shortest Line Award: I'm
           sure they didn't intend it to
           be this way, but the folks
           at Abbott could not have
           chosen a better color
           scheme for the show. The
           big FreeStyle booth had
           sand-colored carpet,
           yellow signage, and a large
           pastel yellow-shirted staﬀ.
           And their booth was as
           empty as the Sahara it
           resembled, which serves
           them right for not having the courage to try to bring their own insulin
           calculator meter to the USA when they had the chance. Oh, and the Abbott
           Freestyle Navigator tech, and the recent recall of FreeStyle strips used in
           OmniPods... need we say more?

           Smallest Booth Award: The award for the smallest booth goes to Frio. But
           hey, how much room do you need to show oﬀ what are (IMHO) the world's
           best insulin cooling solution? They don't need space at all, since the Frio cool
           packs speak for themselves. Traditional cooler company Medicool was
           present, too, in a somewhat larger booth.

           Stay tuned for Wil's take on the oﬃcial conference sessions at AADE 2014
           tomorrow — come on, you know you want to!

            Disclaimer: Content created by the Diabetes Mine team. For more details click here.




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                                                                            FLSD Docket 08/21/2017 Page 29 of 35


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9 of 9                                                                                                                                                    8/21/17, 8:50 PM
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 30 of 35




                             Exhibit D
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 31 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 32 of 35
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 33 of 35




                             Exhibit E
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 34 of 35
                                                 Monday, August 21, 2017 at 8:59:36 PM Eastern Daylight Time

 Subject: Fwd: Contract Requirements




 Begin forwarded message:


       From: Glenn Parker <gparker@conveyhs.com>
       Date: May 15, 2015 at 11:14:55 AM EDT
       To: JaOn Rajani <JaOnrajani@yahoo.com>
       Subject: Fwd: Contract Requirements




       Sent from my iPhone

       Begin forwarded message:


             From: Doug Kuzyk <Doug_Kuzyk@face[echnologies.com>
             Date: May 15, 2015 at 11:12:32 AM EDT
             To: Glenn Parker <gparker@conveyhs.com>
             Cc: Kevin Seifert <Kevin_Seifert@face[echnologies.com>, Alan Panzer
             <Alan_Panzer@face[echnologies.com>, Don Jackson
             <Don_Jackson@face[echnologies.com>
             Subject: Contract Requirements


             If you have any quesOons on the following we can discuss on our conference at
             2:00 today.

             I spoke with Kevin and Mark Farber (our lawyer) about our contract commitments.

             I am working with Finance to generate all the required reports. I hope to have
             everything to you by end of May from the beginning of the year.

             Finance will be providing the following:

                 1.  30 days a_er the end of each Month sales of products in the preceding
                    month. The ﬁrst report you will receive will be from the beginning of this
                    year and then subsequently you will receive it monthly
                 2. 30 days a_er end of each month accounts receivable
                 3. 30 days a_er end of each quarter and summary of the products in
                    inventory, copies of all invoices for products shipped with pricing. The ﬁrst
                    report will be for Q1 only, then subsequently each quarter for the
                    remainder of the year.


                                                                                                       Page 1 of 2
Case 0:17-cv-61053-UU Document 38-1 Entered on FLSD Docket 08/21/2017 Page 35 of 35



               I will provide you a separate summary of the following:
                    1. Summary of each Customer contract. I will have this to you before the end
                        of May for each Customer we have shipped and I will update it monthly.
                    2. Sales and MarkeOng promoOon plan. I have provided you my top-line
                        plan. Let me know if you want a more detailed plan.
                    3. 12 month forecast. The current forecast is incorrect and I have met with
                        Alan to discuss revising the forecast. Once I have it reviewed by ﬁnance I
                        will send you our detailed expectaOons.

               We can discuss further on our call later today.

               Doug
               ----------------------------------------------------------------
               ---------------
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               email and delete this email and any attachments and destroy all
               hard copies.
               Thank you.

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